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1     CENTER FOR DISABILITY ACCESS
      Ray Ballister Jr., Esq., SBN 111282
2     Russell Handy, Esq., SBN 195058
3     Dennis Price, Esq., SBN 279082
      Amanda Seabock, Esq., SBN 289900
4     8033 Linda Vista Road, Suite 200
      San Diego, CA 92111
5     (858) 375-7385; (888) 422-5191 fax
6     phylg@potterhandy.com

7     Attorneys for Plaintiff
8                         UNITED STATES DISTRICT COURT
9                       SOUTHERN DISTRICT OF CALIFORNIA
10    CHRIS LANGER,                             Case: 3:20-cv-02405-H-WVG
11                Plaintiff,                    NOTICE OF DISMISSAL
12       v.                                     PURSUANT TO F.R.CIV.P. 41
13    DEFENDERS, INC., an Indiana               (a)(2)
      Corporation; and Does 1-10
14
                  Defendants.
15
16
17
18                                      NOTICE
19
20            Pursuant to F.R.CIV.P.41 (a)(2), PLEASE TAKE NOTICE THAT the
21   plaintiff hereby voluntarily dismisses the entire case, with prejudice.
22
23   Dated: February 12, 2021          CENTER FOR DISABILITY ACCESS
24
25
                                      By:    /s/Amanda Seabock
26                                           Amanda Seabock
                                             Attorneys for Plaintiff
27
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     Notice for Dismissal                           Case: 3:20-cv-02405-H-WVG
